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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     CV 16-9598-MWF(AGRx)                                    Dated: September 30, 2021

Title:       IV Solutions, Inc. -v- United HealthCare Services, Inc., et al.

PRESENT:     HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

             Rita Sanchez                              Not Reported
             Courtroom Deputies                        Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

             Not Present                               Not Present


PROCEEDINGS (IN CHAMBERS):                    COURT ORDER

       In light of the Notice of Settlement [180] filed September 29, 2021, the Court sets a
hearing on Order To Show Cause Re Dismissal for November 29, 2021 at 11:30 a.m. If a
stipulated dismissal is filed prior to this date, the matter will be taken off calendar and no
appearance is needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




                                                                  Initials of Deputy Clerk rs
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